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                   IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

 UNITED STATES OF AMERICA,

                  Plaintiff,

       v.                                     CRIMINAL NO. 1:14CR56-1
                                                   (Judge Keeley)

 SARAH SNYDER,

                  Defendant.

       ORDER ADOPTING REPORT AND RECOMMENDATION [DKT. NO. 43]
             AND DENYING DEFENDANT’S MOTION TO SUPPRESS
            AND REQUEST FOR FRANKS HEARING [DKT. NO. 37]

       Pending before the Court is the motion to suppress and request

 for a Franks hearing (dkt. no. 37) filed by the defendant, Sarah

 Snyder, and the report and recommendation (“R&R”) (dkt. no. 43) of

 the Honorable John S. Kaull, United States Magistrate Judge,

 recommending    that     the   Court   deny   Snyder’s   motion.        For   the

 following reasons, the Court ADOPTS the R&R and DENIES the motion.

                                        I.

       On April 5, 2013, the West Virginia State Police applied for

 a   search   warrant    for Snyder’s      residence.     In   the   supporting

 affidavit,    Corporal     R.P.   Smith     (“Smith”)   stated   that    he   had

 received information from two confidential informants concerning

 Snyder’s plans to conduct a methamphetamine cook in her house on

 April 6, 2013.         Smith further explained that both confidential

 informants previously had provided information leading to drug

 arrests.
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       As additional support for probable cause, Smith advised that,

 based on records of the National Precursor Log Exchange (“NPLEx”),

 Snyder was a “frequent purchaser of pseudoephedrine” and had

 exhausted her purchase limits “on a monthly bases [sic].” Finally,

 Smith stated that, hours before a previous meth lab arrest in

 February 2013, Snyder’s car had been observed at the location of

 the suspected meth lab, and she had purchased pseudoephedrine from

 the same drug store at the same time as one of the individuals

 arrested.

       Based on Smith’s affidavit, the Magistrate Judge of Gilmer

 County, West Virginia issued a search warrant, which the State

 Police executed on April 6, 2013.               According to the government,

 troopers found a variety of meth ingredients, paraphernalia, and

 cooking equipment.      On July 8, 2014, a federal grand jury indicted

 Snyder on six meth-related counts.

       On September 17, 2014, Snyder filed a motion to suppress “any

 and all evidence seized on April 6, 2013, from [her] residence,”

 and   requested    a   Franks   hearing.         (Dkt.   No.   37    at    1).   In

 particular,       Snyder    challenges          the   veracity       of     Smith’s

 characterization       of   her    as       a     “frequent”        purchaser    of

 pseudoephedrine, as well as his assertion that she had met her


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 purchase limit on a monthly basis.            She further contends that, by

 striking the opposed statements from the affidavit, the remaining

 allegations    do   not   provide    a    basis   for   probable    cause.      In

 response, the government argues that Snyder has failed to meet her

 burden in requesting a Franks hearing because (1) she cannot

 demonstrate that the purportedly false statements were knowingly

 made with an intent to mislead, and (2) that, notwithstanding, the

 remaining information in the affidavit forms the basis for probable

 cause.

      In his R&R, Judge Kaull explained that he “cannot find that

 Corporal Smith ‘knowingly and intentionally, or with reckless

 disregard for the truth,’ included the statement that [Snyder] was

 a   ‘frequent’      purchaser   of       pseudoephedrine    in     the     warrant

 affidavit.”    (Dkt. No. 43 at 5).           As to the statement that Snyder

 had met her purchase limits, he determined that “there is no

 evidence that Corporal Smith affirmatively intended to mislead the

 State magistrate who issued the search warrant.”                Id. at 6.    Based

 on this reasoning, Judge Kaull concluded that it was unnecessary to

 consider   whether     the   remaining       statements    in    the     affidavit

 supported a finding of probable cause for the warrant to issue.




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 Id.    Accordingly, he recommended that the Court deny Snyder’s

 motion and her request for a Franks hearing.           Id.

       Snyder objects to Judge Kaull’s R&R on several grounds.

 First, she disputes his finding that Smith did not act “knowingly

 and intentionally, or with reckless disregard for the truth” when

 he characterized her purchases as “frequent.”           Next, she contends

 that Judge Kaull incorrectly required a preliminary showing that

 the   allegedly     false    statements     were    made     “knowingly    and

 intentionally,” and asserts that she can meet her burden for

 purposes of a Franks hearing by demonstrating Smith’s “reckless

 disregard for the truth.”

                                       II.

       The   Court   “shall   make a    de   novo   determination    of those

 portions    of   the   report   or    specified     proposed    findings   or

 recommendations to which objection is made.” 28 U.S.C. § 636(b)(1)

 (emphasis added); see also Farmer v. McBride, 177 Fed. App’x 327,

 330-31 (4th Cir. 2006) (“The district court is only required to

 review de novo those portions of the report to which specific

 objections have been made . . . .”).          “As to those portions of a

 recommendation to which no objection is made, a magistrate judge’s

 findings and recommendation will be upheld unless they are ‘clearly


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 erroneous.’”      Clark v. United States, No. 5:05CV147, 2008 WL

 2704514, at *3 (N.D.W. Va. July 3, 2008).             Finally, the Court may

 “accept, reject, or modify, in whole or in part, the findings or

 recommendations     made   by     the    magistrate    judge.”   28   U.S.C.

 § 636(b)(1).

                                         III.

      In Franks v. Delaware, the United States Supreme Court held as

 follows:

      [W]here the defendant makes a substantial preliminary
      showing   that   a   false   statement    knowingly   and
      intentionally, or with reckless disregard for the truth,
      was included by the affiant in the warrant affidavit, and
      if the allegedly false statement is necessary to the
      finding of probable cause, the Fourth Amendment requires
      that a hearing be held at the defendant’s request.

 438 U.S. 154, 155-56 (1978).              Under Fourth Circuit precedent,

 courts are to construe Franks “very strictly.”            Simmons v. Poe, 47

 F.3d 1370, 1383 (4th Cir. 1995). Furthermore, they are required to

 apply a “two-part threshold test” in determining whether a Franks

 hearing is warranted: “(1) the defendant makes a substantial

 preliminary    showing     that    a     false   statement   knowingly   and

 intentionally, or with reckless disregard for the truth, was

 included by the affiant in a warrant affidavit, and (2) the

 defendant shows that the false information was essential to the


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 probable cause determination.”                Id. (citing United States v.

 Colkley, 899 F.2d 297, 300 (4th Cir. 1990)).                Finally, courts must

 remain mindful that “[t]he defendant’s burden is a heavy one.”

 United States v. Jeffus, 22 F.3d 554, 558 (4th Cir. 1994).

        Under    the   first    prong,   Snyder      must    make   a   substantial

 preliminary showing that Smith made the two statements at issue

 with reckless disregard for their veracity.                   In his affidavit,

 Smith stated that “NPLEX watch of Sarah Synder [sic] show that both

 her [sic] and [her co-defendant] are frequent purchaser [sic] of

 pseudoephedrine.”       (Dkt. No. 37-1 at 1).        In an attempt to meet her

 burden,      Snyder    has     produced       the   NPLEx      records     of   her

 pseudoephedrine purchases between December 3, 2012 and April 1,

 2013, which show that she made six purchases during that period.

 (Dkt. No. 37-2 at 1-2).

        Certainly, reasonable minds could differ as to whether six

 purchases of cold and allergy medications in a four-month span can

 be characterized as “frequent.”               The Court, however, need not

 decide that issue because Smith could not have made a subjectively

 reasonable statement while at the same time harboring reckless

 disregard for its truth.        See United States v. Cican, 63 Fed. App’x

 832,   835     (6th   Cir.    2003)   (“[M]ost      circuits    have     adopted   a


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 subjective test for recklessness . . . .”); United States v. Clapp,

 46 F.3d 795, 801 n.6 (8th Cir. 1995) (“The test for determining

 whether an affiant’s statements were made with reckless disregard

 for the truth is . . . whether, viewing all of the evidence, the

 affiant must have entertained serious doubts as to the truth of his

 statements or had obvious reasons to doubt the accuracy of the

 information he reported.”).

        In his affidavit, Smith also stated that Snyder had met her

 monthly   purchase    limits    for   pseudoephedrine   under     state   law.

 Snyder disputes the truthfulness of this statement.             Under W. Va.

 Code § 60A-10-4(a), “a person may not purchase . . . more than

 seven and two-tenths grams [of pseudoephedrine] in a thirty-day

 period.” The NPLEx records reflect that Smith’s statement, made on

 April 5, 2013, was true for the thirty-day period between March 26,

 2013   and    April   25,    2013.     Snyder   purchased   3.6    grams    of

 pseudoephedrine on March 26, 2013, and purchased another 3.6 grams

 on April 1, 2013.     (Dkt. No. 37-2 at 1).     Because she purchased 7.2

 grams in a week, she had exhausted the statutory limit for that

 thirty-day period.          Therefore, the Court adopts Judge Kaull’s

 conclusion that Smith did not act with reckless disregard in




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 stating that Snyder “[met] [her] purchase limits under state law on

 a monthly bases [sic].”

                                     IV.

      The Court concludes that Snyder has failed to sustain her

 heavy burden of making a substantial showing that Smith made the

 allegedly false statements with reckless disregard for their truth.

 Therefore, the Court agrees with Judge Kaull that any discussion of

 the second prong of the two-part Franks test is unnecessary.             For

 these reasons, it ADOPTS the R&R and DENIES Snyder’s motion to

 suppress and request for a Franks hearing.

      It is so ORDERED.

      The Court directs the Clerk of Court to transmit copies of

 this Order to counsel of record and all appropriate agencies.

 DATED: October 29, 2014.



                                    /s/ Irene M. Keeley
                                    IRENE M. KEELEY
                                    UNITED STATES DISTRICT JUDGE




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